                                    Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 1 of 44 Page ID #:2784



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                                                          14                            UNITED STATES DISTRICT COURT

                                                          15                          CENTRAL DISTRICT OF CALIFORNIA

                                                          16                                    SOUTHERN DIVISION

                                                          17
                                                          18 TOMTOM INTERNATIONAL, B.V., ,                Case No. 8:14-cv-00475-PA (DFM)

                                                          19           Plaintiff,                         PLAINTIFF TOMTOM
                                                                                                          INTERNATIONAL, B.V.’S
                                                          20          v.                                  DEPOSITION DESIGNATIONS
                                                                                                          AND BROADCOM
                                                          21 BROADCOM CORPORATION,                        CORPORATION’S OBJECTIONS
                                                                                                          AND COUNTER
                                                          22           Defendant.                         DESIGNATIONS

                                                          23                                              Complaint Filed: March 28, 2014
                                                                                                          Trial Date: June 9, 2015
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                                                               TOMTOM’S DEPOSITION DESIGNATIONS AND                 CASE NO. 8:14-cv-00475-PA (DFM)
                                                               BROADCOM’S OBJECTIONS AND COUNTER-
                                                               DESIGNATIONS
                                    Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 2 of 44 Page ID #:2785



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                                                               Dated: May 1, 2015                     FENWICK & WEST LLP
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                                                               TOMTOM’S DEPOSITION DESIGNATIONS AND    1              CASE NO. 8:14-cv-00475-PA (DFM)
                                                               BROADCOM’S OBJECTIONS AND COUNTER-
                                                               DESIGNATIONS
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                 PLAINTIFF’S DEPOSITION DESIGNATIONS
    WITH DEFENDANT’S OBJECTIONS AND COUNTER-DESIGNATIONS AND
    PLAINTIFF’S OBJECTIONS TO DEFENDANT’S COUNTER DESIGNATIONS
   AND PLAINTIFF’S CROSS DESIGNATIONS AND DEFENDANT’S OBJECTIONS
                       TO CROSS DESIGNATIONS


                Code                  Objection Key for Deposition Designations (Defendant)
            408 Priv.       Compromises or offers to compromise
                            (FRE 408)
            A               Argumentative
            C               Testimony has been corrected
            E               Calls for Expert Opinion
            F               Lacks Foundation/Personal Knowledge
                            (FRE 602)
            FRCP 32         Inappropriate Use of Deposition Transcript
            H               Hearsay (FRE 801 et seq.)
            I               Incomplete document or testimony
                            (FRE 106, 403)
            L               Leading
            Leg.            Calls for Legal Conclustion
            P               Unduly prejudicial, probative, wasteful, misleading, confusing, cumulative
                            (FRE 403)
            R               Lack of Relevance (FRE 401-402)
            V               Vague




      Code                      Objection Key for Deposition Designations (Plaintiff)
       OC        Optional Completeness (Rule 106)
        R        Relevance (Rules 401/402)
        P        Prejudice, Misleading, Confusion of Issues, Duplicative, and/or Cumulative (Rule 403)
        C        Inappropriate Character Evidence (Rules 404-406)
        S        Settlement (Rule 408)


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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         F     Foundation
         O     Improper Opinion Testimony (Rules 701-702)
        703    Relied upon by expert, but otherwise inadmissible (Rule 703)
         H     Hearsay (Rule 802)
         A     Authenticity (Rule 901)
         B     Best Evidence (Rules 1002-1003)
       SUM Improper Summary Evidence (Rule 1006)
        M      Subject to Motion in Limine, Daubert Motion, or Motion for Summary Judgment
       A/C     Attorney-Client Privilege
         T     Not Timely Produced
         N     Not Proper Evidence
         D     Not Timely or Properly Designated
         I     Incomplete
       26(a) Exhibit inadmissible during expert testimony where expert did not disclose document in
             expert opinion served pursuant to Fed. R. Civ. P. 26(a)(2)(B)
        CS     Calls for speculation
        CL     Calls for a legal conclusion
        IL     Illegible
        OS     Outside the scope
       ARG Argumentative



Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations        Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s    Defendant’s
                                   Objections     Counter-       Objections    Cross-         Objections
                                                 Designations    to Counter Designations          to
                                                                Designations                   Cross-
                                                                                             Designations
Pg: 9 Lns: 7 - 14

Pg: 9 Ln: 22 - Pg: 12 Ln: 9

Pg: 15 Lns: 8 - 12


                                             2
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                Objections     Counter-       Objections    Cross-        Objections
                                              Designations    to Counter Designations         to
                                                             Designations                  Cross-
                                                                                         Designations
Pg: 15 Ln: 21 - Pg: 17 Ln: 3

Pg: 17 Lns: 4 - 8

Pg: 17 Ln: 16 - Pg: 18 Ln: 23

Pg: 20 Ln: 23 - Pg: 21 Ln: 3

Pg: 21 Lns: 4 - 6

Pg: 21 Lns: 7 - 25

Pg: 22 Lns: 1 - 17                            22:18 –        No objection
                                              23:13
Pg: 23 Ln: 25 - Pg: 24 Ln: 20

Pg: 26 Ln: 8 - Pg: 27 Ln: 10

Pg: 28 Ln: 13 - Pg: 29 Ln: 3

Pg: 29 Lns: 4 - 7

Pg: 29 Lns: 8 - 18

Pg: 29 Ln: 19 - Pg: 30 Ln: 17   F

Pg: 31 Lns: 1 - 8                             31:9 – 32:1    No objection

Pg: 34 Lns: 7 - 12

Pg: 34 Ln: 19 - Pg: 35 Ln: 11

Pg: 35 Lns: 15 - 24                           35:25 – 36:8   No objection

                                              36:14 –        No objection
                                              36:21
Pg: 36 Ln: 22 - Pg: 37 Ln: 4

Pg: 37 Lns: 7 - 21

Pg: 37 Lns: 24 - 25


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
   Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 6 of 44 Page ID #:2789


Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                Objections     Counter-       Objections    Cross-        Objections
                                              Designations    to Counter Designations         to
                                                             Designations                  Cross-
                                                                                         Designations
Pg: 38 Lns: 6 - 19

Pg: 38 Ln: 24 - Pg: 39 Ln: 7

Pg: 40 Lns: 4 - 17

Pg: 54 Lns: 16 - 19

Pg: 54 Ln: 21 - Pg: 56 Ln: 4

Pg: 56 Lns: 5 - 7

Pg: 56 Ln: 24 - Pg: 57 Ln: 1

Pg: 57 Lns: 17 - 19

Pg: 57 Ln: 20 - Pg: 59 Ln: 2

Pg: 64 Lns: 1 - 8                             64:24 – 65:7   No objection

                                              65:22 – 66:1   No objection

Pg: 66 Ln: 2 - Pg: 67 Ln: 15

Pg: 71 Ln: 20 - Pg: 72 Ln: 4

Pg: 74 Ln: 11 - Pg: 76 Ln: 23

Pg: 77 Lns: 4 - 18

Pg: 77 Ln: 22 - Pg: 78 Ln: 14   Leg; V

Pg: 78 Ln: 17 - Pg: 79 Ln: 13   Leg; V

Pg: 81 Lns: 17 - 22

Pg: 81 Ln: 23 - Pg: 83 Ln: 2

Pg: 83 Lns: 3 - 6

Pg: 83 Lns: 10 - 15                           83:16 –        Non-
                                              83:21          responsive, P

                                             4
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
   Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 7 of 44 Page ID #:2790


Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                Objections     Counter-       Objections    Cross-        Objections
                                              Designations    to Counter Designations         to
                                                             Designations                  Cross-
                                                                                         Designations
Pg: 83 Ln: 22 - Pg: 84 Ln: 3

Pg: 84 Lns: 9 - 20                            84:21 –        No objection
                                              84:24
Pg: 84 Ln: 25 - Pg: 85 Ln: 3

Pg: 85 Ln: 4 - Pg: 86 Ln: 1

Pg: 86 Lns: 2 - 21                            86:22 –        Non-
                                              86:23          responsive,
                                                             P, ARG
Pg: 86 Ln: 24 - Pg: 87 Ln: 6

Pg: 87 Lns: 10 - 12

Pg: 87 Ln: 17 - Pg: 88 Ln: 5

Pg: 88 Ln: 6 - Pg: 89 Ln: 4

Pg: 89 Lns: 14 - 20

Pg: 89 Lns: 21 - 24

Pg: 89 Ln: 25 - Pg: 90 Ln: 14

Pg: 90 Lns: 15 - 17

Pg: 90 Ln: 21 - Pg: 91 Ln: 13

Pg: 91 Lns: 16 - 21

Pg: 92 Lns: 3 - 5                             92:6 – 92:18   R, P

Pg: 99 Lns: 3 - 11

Pg: 99 Lns: 18 - 21             V; F

Pg: 99 Ln: 24 - Pg: 100 Ln: 9   V; F

Pg: 100 Lns: 12 - 19            F

Pg: 100 Lns: 22 - 25            F

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
   Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 8 of 44 Page ID #:2791


Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                 Objections     Counter-       Objections    Cross-        Objections
                                               Designations    to Counter Designations         to
                                                              Designations                  Cross-
                                                                                          Designations
Pg: 101 Lns: 10 - 19             F

Pg: 101 Ln: 22 - Pg: 102 Ln:     F
11

Pg: 102 Lns: 15 - 23

Pg: 102 Ln: 24 - Pg: 103 Ln:
21

Pg: 111 Lns: 8 - 13

Pg: 111 Lns: 16 - 23             R; P

Pg: 111 Ln: 24 - Pg: 112 Ln: 9   R; P

Pg: 113 Lns: 3 - 5

Pg: 113 Lns: 9 - 14

Pg: 113 Ln: 20 - Pg: 114 Ln:
24

Pg: 118 Lns: 4 - 6

Pg: 118 Lns: 13 - 15

Pg: 118 Lns: 16 - 22                           118:23 –       R, P, H
                                               119:23
Pg: 120 Lns: 8 - 13

Pg: 122 Ln: 22 - Pg: 123 Ln: 8

Pg: 123 Lns: 9 - 18

Pg: 124 Lns: 14 - 22                           124:23 –       R, P
                                               125:4
Pg: 125 Lns: 7 - 11

Pg: 127 Lns: 7 - 9


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                 Objections     Counter-       Objections    Cross-        Objections
                                               Designations    to Counter Designations         to
                                                              Designations                  Cross-
                                                                                          Designations
Pg: 130 Lns: 16 - 23

Pg: 131 Lns: 5 - 10

Pg: 131 Lns: 16 - 17

Pg: 131 Ln: 24 - Pg: 133 Ln:
15

Pg: 133 Lns: 16 - 18

Pg: 133 Ln: 22 - Pg: 134 Ln: 5

Pg: 134 Ln: 9 - Pg: 135 Ln: 3

Pg: 135 Lns: 4 - 6

Pg: 135 Lns: 7 - 11

Pg: 136 Ln: 14 - Pg: 137 Ln: 4

Pg: 137 Lns: 5 - 15

Pg: 138 Lns: 2 - 13

Pg: 138 Ln: 25 - Pg: 139 Ln: 9                 139:13 –       No objection
                                               139:22
Pg: 139 Ln: 23 - Pg: 140 Ln: 1

Pg: 140 Lns: 2 - 15

Pg: 140 Lns: 16 - 24

Pg: 140 Ln: 25 - Pg: 141 Ln: 8

Pg: 141 Lns: 9 - 12

Pg: 141 Ln: 13 - Pg: 142 Ln:
11

Pg: 142 Lns: 12 - 23


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 10 of 44 Page ID #:2793


Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                 Objections     Counter-       Objections    Cross-        Objections
                                               Designations    to Counter Designations         to
                                                              Designations                  Cross-
                                                                                          Designations
Pg: 143 Lns: 10 - 17

Pg: 143 Ln: 21 - Pg: 144 Ln: 2

Pg: 146 Lns: 13 - 24

Pg: 151 Ln: 15 - Pg: 152 Ln:
19

Pg: 154 Lns: 17 - 23

Pg: 155 Ln: 17 - Pg: 156 Ln: 2

Pg: 159 Ln: 25 - Pg: 160 Ln: 6

Pg: 160 Lns: 10 - 14

Pg: 160 Ln: 15 - Pg: 161 Ln:
15

Pg: 162 Lns: 20 - 22

Pg: 164 Lns: 8 - 14

Pg: 164 Lns: 15 - 21

Pg: 164 Lns: 22 - 23

Pg: 166 Lns: 6 - 11

Pg: 166 Lns: 15 - 15

Pg: 166 Ln: 20 - Pg: 167 Ln:
25

Pg: 168 Ln: 1 - Pg: 169 Ln: 24

Pg: 170 Ln: 10 - Pg: 171 Ln: 4   R; P

Pg: 171 Ln: 13 - Pg: 172 Ln: 5   R; P



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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                 Objections     Counter-       Objections    Cross-        Objections
                                               Designations    to Counter Designations         to
                                                              Designations                  Cross-
                                                                                          Designations
Pg: 172 Lns: 21 - 23             R; P

Pg: 173 Lns: 1 - 5               R; P; F

Pg: 176 Lns: 1 - 2

Pg: 176 Ln: 6 - Pg: 177 Ln: 6

Pg: 178 Ln: 6 - Pg: 179 Ln: 12

Pg: 187 Lns: 21 - 22

Pg: 188 Lns: 20 - 25

Pg: 189 Lns: 3 - 23

Pg: 189 Ln: 24 - Pg: 190 Ln:
20

Pg: 190 Ln: 21 - Pg: 191 Ln: 8

Pg: 191 Lns: 9 - 23

Pg: 191 Ln: 24 - Pg: 192 Ln: 2

Pg: 192 Lns: 3 - 9

Pg: 192 Lns: 10 - 12

Pg: 192 Lns: 13 - 15

Pg: 192 Lns: 16 - 20

Pg: 192 Lns: 21 - 23

Pg: 192 Ln: 24 - Pg: 193 Ln: 2

Pg: 193 Lns: 3 - 5

Pg: 194 Lns: 9 - 10

Pg: 194 Lns: 14 - 22

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 12 of 44 Page ID #:2795


Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                 Objections     Counter-       Objections    Cross-        Objections
                                               Designations    to Counter Designations         to
                                                              Designations                  Cross-
                                                                                          Designations
Pg: 195 Lns: 14 - 16

Pg: 195 Lns: 19 - 25

Pg: 196 Lns: 4 - 12

Pg: 196 Lns: 13 - 25

Pg: 198 Lns: 13 - 21

Pg: 200 Lns: 20 - 23

Pg: 201 Lns: 13 - 16

Pg: 202 Lns: 2 - 12

Pg: 206 Lns: 7 - 18

Pg: 206 Lns: 22 - 25

Pg: 207 Lns: 4 - 11

Pg: 207 Ln: 23 - Pg: 208 Ln:
10

Pg: 208 Ln: 19 - Pg: 209 Ln: 3

Pg: 215 Lns: 5 - 7

Pg: 215 Lns: 11 - 19

Pg: 215 Lns: 20 - 20

Pg: 215 Lns: 21 - 24

Pg: 216 Lns: 22 - 25

Pg: 217 Lns: 1 - 4

Pg: 218 Ln: 13 - Pg: 219 Ln:
16


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 13 of 44 Page ID #:2796


Sherry, Paul (Dec. 17, 2014)
   Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s   Defendant’s
                                 Objections     Counter-       Objections    Cross-        Objections
                                               Designations    to Counter Designations         to
                                                              Designations                  Cross-
                                                                                          Designations
Pg: 222 Lns: 2 - 6                             222:7 –        R, P
                                               222:10
                                               222:22 –       R, P, F
                                               223:5
Pg: 223 Lns: 6 - 10                            223:11 –       P, F
                                               223:18
Pg: 223 Lns: 19 - 21             F

Pg: 223 Ln: 24 - Pg: 224 Ln: 8   F

Pg: 226 Lns: 1 - 10

Pg: 227 Lns: 17 - 20             408 Priv

Pg: 227 Ln: 25 - Pg: 229 Ln:     408 Priv
21

Pg: 230 Lns: 13 - 14

Pg: 230 Ln: 18 - Pg: 231 Ln: 5

Pg: 231 Ln: 9 - Pg: 232 Ln: 2    F

Pg: 233 Lns: 8 - 23

Pg: 234 Ln: 18 - Pg: 235 Ln: 2




Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s      Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections       Counter-       Objections    Cross-      Objections
                                               Designations    to Counter Designations   to Cross-
                                                              Designations              Designations
Pg: 8 Ln: 4 - Pg: 9 Ln: 13

Pg: 9 Lns: 17 - 21

Pg: 11 Ln: 11 - Pg: 12 Ln: 1


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 12 Lns: 2 - 19

Pg: 12 Lns: 23 - 24

Pg: 13 Lns: 1 - 2

Pg: 13 Lns: 3 - 3

Pg: 14 Lns: 1 - 10

Pg: 14 Lns: 14 - 16

Pg: 15 Lns: 13 - 15                         15:16 – 16:6   No objection

Pg: 16 Lns: 9 - 13

Pg: 16 Lns: 18 - 21

Pg: 22 Lns: 6 - 21              R; P

Pg: 23 Lns: 14 - 24

Pg: 24 Ln: 14 - Pg: 25 Ln: 15   F

Pg: 25 Ln: 16 - Pg: 26 Ln: 14   F

Pg: 26 Lns: 15 - 25             F

Pg: 27 Ln: 3 - Pg: 28 Ln: 3     F; R; P

Pg: 29 Lns: 11 - 20             F

Pg: 29 Ln: 21 - Pg: 30 Ln: 6    R; P

Pg: 30 Lns: 9 - 12              F

Pg: 32 Lns: 18 - 19

Pg: 32 Ln: 22 - Pg: 33 Ln: 7    F

Pg: 33 Lns: 9 - 20              F

Pg: 34 Ln: 16 - Pg: 35 Ln: 23   F           35:24 – 36:8   No objection

                                            12
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 36 Ln: 23 - Pg: 37 Ln: 3                38:5 – 38:9    No objection

Pg: 38 Lns: 19 - 23

Pg: 39 Lns: 1 - 6                           39:7 – 39:13   Non-
                                                           responsive
Pg: 39 Ln: 14 - Pg: 40 Ln: 1

Pg: 40 Lns: 4 - 23              L

Pg: 41 Lns: 1 - 3

Pg: 41 Lns: 18 - 21

Pg: 43 Lns: 6 - 13                          43:14 –        No objection
                                            43:18
Pg: 43 Lns: 19 - 23                         43:24 – 44:8   CS

Pg: 44 Lns: 9 - 12

Pg: 46 Lns: 5 - 9

Pg: 47 Lns: 6 - 14              R; P

Pg: 47 Lns: 17 - 25             R; P

Pg: 48 Lns: 3 - 3

Pg: 48 Lns: 17 - 23             R; P

Pg: 49 Lns: 8 - 13                          49:14 –        No objection
                                            49:18
Pg: 52 Ln: 11 - Pg: 53 Ln: 2                53:15 –        I
                                            53:17
Pg: 53 Ln: 18 - Pg: 54 Ln: 9

Pg: 54 Lns: 10 - 23

Pg: 54 Ln: 24 - Pg: 55 Ln: 24   C

Pg: 56 Lns: 16 - 20



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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 58 Ln: 16 - Pg: 59 Ln: 10   R; P        59:11 –        No objection
                                            59:23
Pg: 59 Ln: 24 - Pg: 60 Ln: 7                60:19 –        No objection
                                            60:22
Pg: 60 Ln: 23 - Pg: 61 Ln: 1    R; P

Pg: 65 Lns: 7 - 19

Pg: 66 Lns: 7 - 10              R; P

Pg: 66 Lns: 15 - 17             R; P

Pg: 66 Ln: 18 - Pg: 67 Ln: 5    R; P

Pg: 67 Lns: 19 - 23             R; P

Pg: 67 Lns: 24 - 25             R; P

Pg: 69 Lns: 5 - 13              C

Pg: 70 Ln: 22 - Pg: 72 Ln: 6

Pg: 72 Ln: 9 - Pg: 73 Ln: 8

Pg: 73 Lns: 11 - 17             C

Pg: 73 Ln: 22 - Pg: 74 Ln: 5    R; P

Pg: 75 Ln: 18 - Pg: 76 Ln: 18   R; P

Pg: 77 Ln: 23 - Pg: 78 Ln: 11   R; P

Pg: 87 Ln: 3 - Pg: 89 Ln: 22    R; P

Pg: 89 Ln: 23 - Pg: 90 Ln: 2    R; P

Pg: 90 Lns: 3 - 12              R; P

Pg: 90 Lns: 15 - 18             R; P

Pg: 91 Lns: 10 - 14

Pg: 91 Ln: 23 - Pg: 92 Ln: 2

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 92 Lns: 14 - 17                         92:18 –
                                            92:25
Pg: 93 Lns: 1 - 4

Pg: 95 Ln: 23 - Pg: 96 Ln: 1

Pg: 96 Lns: 5 - 13

Pg: 100 Ln: 22 - Pg: 102 Ln:
10

Pg: 107 Lns: 19 - 23             V; F

Pg: 107 Ln: 24 - Pg: 108 Ln: 6

Pg: 109 Ln: 25 - Pg: 110 Ln:     R; P
12

Pg: 116 Ln: 14 - Pg: 118 Ln: 8   R; P

Pg: 118 Lns: 9 - 12

Pg: 118 Ln: 13 - Pg: 119 Ln:     R; P       119:12 –       R, P, CS
11                                          119:19

Pg: 119 Ln: 20 - Pg: 120 Ln:                120:13 –       P, H (121:4 – 121:4 –     F; H
12                                          121:3          121:25)       121:25

Pg: 122 Ln: 1 - Pg: 123 Ln: 16   R; P

Pg: 126 Lns: 12 - 21

Pg: 127 Ln: 22 - Pg: 128 Ln: 2

Pg: 131 Ln: 22 - Pg: 132 Ln:
22

Pg: 133 Ln: 17 - Pg: 134 Ln:     F
14

Pg: 134 Lns: 16 - 16             F


                                            15
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 18 of 44 Page ID #:2801


Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 135 Lns: 12 - 25             R; P

Pg: 136 Lns: 7 - 10              R; P       136:11 –       No objection
                                            136:16
Pg: 137 Lns: 17 - 23

Pg: 138 Lns: 2 - 11

Pg: 138 Ln: 14 - Pg: 139 Ln:
11

Pg: 140 Lns: 4 - 8                          140:9 -        No objection
                                            140:14
Pg: 140 Ln: 18 - Pg: 141 Ln: 9

Pg: 141 Lns: 12 - 24

Pg: 142 Ln: 25 - Pg: 143 Ln: 9

Pg: 143 Lns: 19 - 20

Pg: 143 Ln: 22 - Pg: 144 Ln: 5

Pg: 150 Lns: 19 - 24                        151:23 –       I
                                            152:3
Pg: 152 Lns: 4 - 8                          152:14 –       Non-
                                            153:16         responsive, P
Pg: 153 Ln: 17 - Pg: 156 Ln:
14

Pg: 156 Lns: 18 - 18

Pg: 156 Ln: 24 - Pg: 158 Ln:                158:22 –       F, P (158:14    158:14 –
13                                          159:7          – 158:21)       158:21

Pg: 159 Lns: 14 - 16

Pg: 159 Lns: 19 - 24                        159:25 –       I, OC           160:10 -
                                            160:9          (160:10 –       160:13
                                                           160:13)



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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 19 of 44 Page ID #:2802


Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s  Plaintiff’s Defendant’s
                               Objections    Counter-       Objections      Cross-     Objections
                                            Designations    to Counter Designations    to Cross-
                                                           Designations               Designations
                                            160:14 –       I, OC         160:10 –
                                            160:18         (160:10 –     160:13
                                                           160:13)
Pg: 163 Lns: 2 - 24

Pg: 165 Lns: 15 - 25                        166:22 –       I, OC (167:9   167:9 –     F; calls for
                                            167:8          – 167:14)      167:14      speculation
Pg: 170 Lns: 5 - 8                          170:9 –        P, Non-
                                            170:17         responsive
                                                           (170:14 –
                                                           170:17)
Pg: 172 Ln: 14 - Pg: 173 Ln:
13

Pg: 173 Lns: 16 - 20

Pg: 179 Lns: 4 - 15

Pg: 179 Ln: 16 - Pg: 180 Ln:
10

Pg: 180 Ln: 14 - Pg: 181 Ln:
23

Pg: 191 Ln: 1 - Pg: 192 Ln: 1

Pg: 192 Ln: 19 - Pg: 194 Ln: 5   F

Pg: 194 Lns: 7 - 7               F

Pg: 194 Lns: 9 - 10              F

Pg: 210 Lns: 3 - 6

Pg: 210 Lns: 7 - 10              V

Pg: 210 Lns: 13 - 14             V

Pg: 214 Lns: 5 - 13

Pg: 214 Ln: 16 - Pg: 215 Ln: 1


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 20 of 44 Page ID #:2803


Abraham, Charles (Jan. 28, 2015)
  Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 218 Lns: 3 - 8                          218:9 –        No objection
                                            218:25
Pg: 219 Lns: 1 - 24




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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 21 of 44 Page ID #:2804




Digglelen, Frank van (Mar. 11, 2015)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 7 Lns: 8 - 12

Pg: 7 Lns: 13 - 22

Pg: 8 Lns: 17 - 20

Pg: 9 Lns: 6 - 24

Pg: 10 Lns: 12 - 18

Pg: 16 Ln: 9 - Pg: 17 Ln: 5

Pg: 17 Lns: 12 - 13

Pg: 18 Lns: 20 - 21

Pg: 18 Ln: 24 - Pg: 19 Ln: 7

Pg: 19 Ln: 10 - Pg: 20 Ln: 3                  20:4 – 20:9    R, P

Pg: 20 Lns: 10 - 11

Pg: 20 Lns: 14 - 14                           20:20 – 21:3   No objection

Pg: 22 Lns: 1 - 10

Pg: 22 Ln: 19 - Pg: 23 Ln: 18

Pg: 25 Lns: 8 - 16

Pg: 28 Ln: 13 - Pg: 30 Ln: 3                  30:4 – 30:21   R, P

Pg: 36 Lns: 9 - 10

Pg: 36 Lns: 11 - 13

Pg: 36 Lns: 17 - 20

Pg: 37 Lns: 9 - 21

Pg: 44 Lns: 2 - 5


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 22 of 44 Page ID #:2805


Digglelen, Frank van (Mar. 11, 2015)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 44 Lns: 11 - 17

Pg: 44 Lns: 20 - 23

Pg: 46 Ln: 18 - Pg: 47 Ln: 2

Pg: 50 Lns: 7 - 19

Pg: 67 Lns: 3 - 7

Pg: 72 Lns: 9 - 17

Pg: 72 Ln: 19 - Pg: 73 Ln: 14

Pg: 74 Lns: 20 - 22

Pg: 74 Ln: 24 - Pg: 75 Ln: 9                  75:14 – 76:1   No objection

Pg: 87 Ln: 17 - Pg: 88 Ln: 2

Pg: 97 Lns: 19 - 21

Pg: 97 Ln: 23 - Pg: 98 Ln: 1

Pg: 101 Lns: 17 - 20             V

Pg: 101 Lns: 22 - 25             V            102:23 –       No objection
                                              103:10
Pg: 112 Lns: 9 - 16              L; V

Pg: 125 Lns: 16 - 21

Pg: 126 Ln: 22 - Pg: 127 Ln:
12

Pg: 146 Lns: 14 - 16             V; F

Pg: 146 Ln: 18 - Pg: 147 Ln:     V; F
15

Pg: 147 Ln: 18 - Pg: 148 Ln: 6   F



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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 23 of 44 Page ID #:2806


Digglelen, Frank van (Mar. 11, 2015)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 156 Lns: 7 - 9               F

Pg: 159 Lns: 18 - 20

Pg: 160 Lns: 1 - 3

Pg: 165 Lns: 9 - 22

Pg: 168 Ln: 9 - Pg: 169 Ln: 14

Pg: 169 Lns: 16 - 18

Pg: 170 Ln: 25 - Pg: 171 Ln: 3

Pg: 171 Ln: 5 - Pg: 172 Ln: 6

Pg: 172 Lns: 9 - 23

Pg: 172 Ln: 25 - Pg: 173 Ln: 8                173:15 –       R, P, OC     173:9 –
                                              173:22         (173:9 –     173:14
                                                             173:14)
Pg: 178 Lns: 8 - 17

Pg: 178 Lns: 20 - 20

Pg: 180 Lns: 3 - 14

Pg: 180 Ln: 18 - Pg: 181 Ln: 1   F

Pg: 181 Lns: 15 - 15

Pg: 181 Lns: 18 - 23                          181:24 –       Non-
                                              183:21         responsive
                                                             (182:2 –
                                              183:24 –       184:3)
                                              184:3
Pg: 184 Lns: 4 - 9

Pg: 184 Lns: 12 - 22

Pg: 184 Ln: 25 - Pg: 185 Ln: 3                189:5 –        R, P
                                              190:4


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 24 of 44 Page ID #:2807


Digglelen, Frank van (Mar. 11, 2015)
   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 190 Lns: 5 - 15

Pg: 193 Lns: 3 - 5               F

Pg: 193 Lns: 7 - 10              F

Pg: 193 Lns: 12 - 13             F

Pg: 202 Ln: 23 - Pg: 203 Ln: 3

Pg: 203 Lns: 7 - 10              F; I; V

Pg: 203 Lns: 13 - 25             I; F; V

Pg: 204 Lns: 2 - 19              F; I; V

Pg: 204 Ln: 22 - Pg: 205 Ln: 6   V; F

Pg: 205 Ln: 10 - Pg: 206 Ln:     V; F
14

Pg: 206 Ln: 17 - Pg: 207 Ln:     I; V; F      207:18 –       No objection
16                                            207:18

Pg: 207 Ln: 22 - Pg: 208 Ln:                  208:15 –       Non-
14                                            209:16         responsive
                                                             (208:19 –
                                                             209:16)
Pg: 209 Lns: 17 - 20                          209:22 –       P, Non-
                                              211:3          responsive,
                                                             ARG
                                              211:4 –
                                              211:23
Pg: 211 Ln: 24 - Pg: 212 Ln: 4                212:5 –        P, Non-
                                              212:16         responsive,
                                                             ARG
Pg: 218 Lns: 7 - 12              V

Pg: 219 Ln: 23 - Pg: 220 Ln: 1                220:2 –        R, P
                                              220:11
Pg: 220 Lns: 12 - 14


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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    Digglelen, Frank van (Mar. 11, 2015)
       Plaintiff’s Designations     Defendant’s                Defendant’s          Plaintiff’s Plaintiff’s Defendant’s
                                    Objections                  Counter-           Objections    Cross-      Objections
                                                               Designations        to Counter Designations   to Cross-
                                                                                  Designations              Designations
    Pg: 220 Ln: 17 - Pg: 221 Ln: 1                             221:2 –            R, P
                                                               221:22
    Pg: 241 Lns: 2 - 5                                         241:5 –            No objection
                                                               241:23
    Pg: 242 Lns: 2 - 5

    Pg: 243 Lns: 20 - 24                                       244:8 –            R, P
                                                               245:10
    Pg: 278 Ln: 21 - Pg: 280 Ln:
    16

    Pg: 280 Lns: 17 - 18

    Pg: 280 Ln: 20 - Pg: 281 Ln: 6                             281:6 –            R, P
                                                               282:18
    Pg: 282 Ln: 19 - Pg: 283 Ln: 1

    Pg: 291 Lns: 5 - 15

    Pg: 291 Ln: 16 - Pg: 293 Ln: 2




    Rivera, Walter John (Mar. 16, 2015)1
       Plaintiff’s Designations    Defendant’s                 Defendant’s          Plaintiff’s Plaintiff’s Defendant’s
                                    Objections                  Counter-           Objections    Cross-      Objections
                                                               Designations        to Counter Designations   to Cross-
                                                                                  Designations              Designations
    Pg: 7 Lns: 12 - 24

    Pg: 8 Ln: 24 - Pg: 10 Ln: 1

    Pg: 10 Lns: 14 - 23

    Pg: 12 Lns: 14 - 22

    Pg: 13 Lns: 1 - 5



1
    Broadcom asserts a global objection to all of Mr. Rivera’s deposition designations pursuant to Rule 32.

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 15 Ln: 11 - Pg: 16 Ln: 3

Pg: 16 Lns: 10 - 11

Pg: 16 Ln: 15 - Pg: 17 Ln: 17

Pg: 20 Lns: 18 - 22

Pg: 22 Ln: 22 - Pg: 23 Ln: 4

Pg: 23 Lns: 12 - 14

Pg: 23 Lns: 16 - 19

Pg: 23 Lns: 21 - 24

Pg: 24 Lns: 2 - 2

Pg: 26 Ln: 1 - Pg: 27 Ln: 2

Pg: 27 Lns: 21 - 24

Pg: 28 Lns: 7 - 14

Pg: 28 Lns: 19 - 21

Pg: 29 Lns: 12 - 20

Pg: 29 Lns: 22 - 24

Pg: 30 Lns: 8 - 19

Pg: 30 Lns: 21 - 23

Pg: 30 Ln: 25 - Pg: 31 Ln: 5

Pg: 31 Lns: 8 - 10

Pg: 34 Lns: 15 - 16

Pg: 34 Lns: 18 - 19

Pg: 34 Ln: 21 - Pg: 35 Ln: 3

                                            24
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 35 Ln: 6 - Pg: 36 Ln: 1

Pg: 36 Lns: 3 - 12

Pg: 36 Ln: 18 - Pg: 37 Ln: 23   R; P

Pg: 37 Ln: 25 - Pg: 38 Ln: 1    R; P

Pg: 43 Lns: 3 - 12              R; P

Pg: 43 Lns: 15 - 17             R; P

Pg: 47 Ln: 22 - Pg: 48 Ln: 1

Pg: 48 Lns: 19 - 21

Pg: 48 Ln: 24 - Pg: 49 Ln: 10

Pg: 49 Ln: 25 - Pg: 50 Ln: 1    R; P; E; I

Pg: 50 Lns: 4 - 9               E; R; P; I

Pg: 50 Lns: 14 - 20             E; R; P; I

Pg: 50 Ln: 23 - Pg: 51 Ln: 18   R; P; E; I

Pg: 51 Lns: 21 - 21             I; R; P; E

Pg: 52 Lns: 8 - 10

Pg: 52 Lns: 13 - 21

Pg: 53 Lns: 10 - 13

Pg: 55 Lns: 6 - 17

Pg: 55 Lns: 20 - 22

Pg: 58 Ln: 21 - Pg: 59 Ln: 8

Pg: 59 Ln: 10 - Pg: 61 Ln: 13

Pg: 63 Lns: 9 - 17              E; F

                                            25
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 28 of 44 Page ID #:2811


Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 63 Ln: 20 - Pg: 64 Ln: 9    E; F

Pg: 65 Lns: 4 - 8               F; E

Pg: 65 Lns: 10 - 12             E; F

Pg: 65 Ln: 14 - Pg: 66 Ln: 3    F; E

Pg: 66 Lns: 6 - 13              E; F

Pg: 66 Lns: 18 - 19

Pg: 66 Lns: 21 - 21

Pg: 70 Ln: 12 - Pg: 71 Ln: 25   F; E; R; P

Pg: 72 Lns: 4 - 4               E; F

Pg: 72 Lns: 6 - 19              F; E; R; P

Pg: 72 Lns: 21 - 23             E; F; R; P

Pg: 72 Ln: 25 - Pg: 73 Ln: 13   F; E; R; P

Pg: 73 Lns: 16 - 21             R; P; F; E

Pg: 75 Ln: 24 - Pg: 76 Ln: 5    R; P; F; E

Pg: 77 Lns: 1 - 3               R; P

Pg: 77 Lns: 6 - 6               R; P

Pg: 78 Lns: 11 - 21             R; P

Pg: 78 Ln: 24 - Pg: 79 Ln: 4    R; P

Pg: 79 Lns: 7 - 13              R; P

Pg: 79 Ln: 15 - Pg: 80 Ln: 6    R; P

Pg: 80 Lns: 8 - 14              R; P

Pg: 80 Lns: 16 - 22             R; P

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s    Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 81 Ln: 7 - Pg: 83 Ln: 3      R; P

Pg: 84 Ln: 19 - Pg: 85 Ln: 4     E

Pg: 85 Lns: 7 - 10               E

Pg: 85 Lns: 12 - 17              E

Pg: 86 Lns: 5 - 22               E; R; P

Pg: 93 Ln: 3 - Pg: 94 Ln: 13     E

Pg: 95 Lns: 23 - 25

Pg: 96 Lns: 2 - 13

Pg: 101 Ln: 5 - Pg: 102 Ln: 3

Pg: 102 Lns: 7 - 17

Pg: 102 Lns: 19 - 23

Pg: 103 Lns: 1 - 3

Pg: 111 Ln: 7 - Pg: 112 Ln: 1    E; R; P

Pg: 112 Lns: 4 - 18              R; P; F; E

Pg: 112 Ln: 21 - Pg: 113 Ln: 4   R; P; F; E

Pg: 113 Lns: 7 - 18              R; P; I; E

Pg: 113 Lns: 21 - 22             R; P; F; E

Pg: 113 Ln: 24 - Pg: 115 Ln: 3

Pg: 115 Lns: 6 - 10              F

Pg: 115 Lns: 23 - 25             F

Pg: 116 Lns: 9 - 15

Pg: 118 Lns: 2 - 10

                                            27
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 119 Ln: 22 - Pg: 120 Ln: 2

Pg: 120 Lns: 5 - 7

Pg: 120 Lns: 9 - 14

Pg: 120 Lns: 17 - 19

Pg: 120 Lns: 21 - 25

Pg: 122 Lns: 8 - 16

Pg: 123 Lns: 3 - 8

Pg: 124 Lns: 3 - 23

Pg: 125 Ln: 5 - Pg: 126 Ln: 5

Pg: 134 Lns: 4 - 12

Pg: 135 Ln: 9 - Pg: 136 Ln: 6

Pg: 137 Lns: 5 - 8

Pg: 137 Ln: 15 - Pg: 139 Ln: 6

Pg: 139 Lns: 9 - 21

Pg: 139 Ln: 24 - Pg: 140 Ln: 9

Pg: 141 Ln: 16 - Pg: 143 Ln:     E; R; P
15

Pg: 143 Lns: 19 - 20             E

Pg: 143 Ln: 22 - Pg: 144 Ln: 2   E; R; P

Pg: 144 Ln: 4 - Pg: 145 Ln: 2    E; R; P

Pg: 145 Lns: 5 - 6               E; R; P

Pg: 149 Lns: 9 - 14


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
  Case 8:14-cv-00475-PA-DFM Document 117 Filed 05/01/15 Page 31 of 44 Page ID #:2814


Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 150 Lns: 10 - 20

Pg: 156 Lns: 6 - 15

Pg: 158 Lns: 6 - 25

Pg: 161 Ln: 25 - Pg: 162 Ln: 3

Pg: 162 Lns: 15 - 22

Pg: 162 Ln: 25 - Pg: 163 Ln:
13

Pg: 163 Ln: 17 - Pg: 164 Ln: 9   V; F

Pg: 164 Lns: 13 - 22             F; V

Pg: 166 Ln: 23 - Pg: 169 Ln:     R; F; E
25

Pg: 170 Lns: 20 - 24

Pg: 171 Ln: 17 - Pg: 172 Ln:
17

Pg: 174 Ln: 22 - Pg: 175 Ln:
24

Pg: 176 Lns: 15 - 24             F; R; P

Pg: 179 Lns: 6 - 8               V

Pg: 179 Lns: 11 - 17             V

Pg: 179 Ln: 19 - Pg: 180 Ln:
19

Pg: 181 Lns: 6 - 13

Pg: 182 Lns: 5 - 10

Pg: 182 Lns: 19 - 22

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 183 Ln: 1 - Pg: 185 Ln: 15

Pg: 185 Lns: 17 - 18

Pg: 185 Ln: 20 - Pg: 186 Ln:
12

Pg: 187 Lns: 9 - 21                          188:20 –       P, O
                                             189:1
Pg: 189 Lns: 2 - 15

Pg: 189 Lns: 18 - 21                         189:23 –       P, O, CL,
                                             190:1          Non-
                                                            responsive
Pg: 191 Lns: 14 - 16

Pg: 191 Ln: 20 - Pg: 193 Ln:
10

Pg: 194 Lns: 11 - 21

Pg: 195 Ln: 2 - Pg: 197 Ln: 11

Pg: 197 Ln: 14 - Pg: 198 Ln: 7

Pg: 208 Lns: 10 - 13

Pg: 208 Lns: 15 - 15

Pg: 208 Ln: 17 - Pg: 209 Ln:
24

Pg: 210 Lns: 7 - 10

Pg: 210 Lns: 13 - 16

Pg: 211 Lns: 17 - 22                         211:23 –       P, CS, Non-
                                             212:16         responsive
Pg: 212 Lns: 4 - 14

Pg: 212 Lns: 17 - 19


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 217 Lns: 7 - 9               R; P

Pg: 217 Lns: 11 - 11             R; P

Pg: 217 Ln: 13 - Pg: 218 Ln: 4   R; P

Pg: 220 Lns: 21 - 23             R; P

Pg: 224 Ln: 24 - Pg: 226 Ln:     R; P
17

Pg: 227 Lns: 11 - 20             R; P        227:21 –       No objection
                                             228:4
Pg: 228 Lns: 12 - 15             R; P

Pg: 232 Lns: 15 - 17

Pg: 232 Lns: 19 - 19

Pg: 232 Lns: 21 - 24

Pg: 233 Ln: 19 - Pg: 234 Ln: 8

Pg: 234 Ln: 18 - Pg: 235 Ln:     R; P
20

Pg: 235 Lns: 23 - 25

Pg: 236 Lns: 9 - 14

Pg: 237 Lns: 15 - 18

Pg: 238 Lns: 2 - 16

Pg: 239 Ln: 8 - Pg: 240 Ln: 8    R; P

Pg: 245 Ln: 10 - Pg: 246 Ln: 8   I; F

Pg: 246 Ln: 10 - Pg: 247 Ln:
10

Pg: 247 Lns: 14 - 16

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Rivera, Walter John (Mar. 16, 2015)1
   Plaintiff’s Designations    Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections    Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 249 Lns: 4 - 6

Pg: 249 Lns: 8 - 8

Pg: 249 Lns: 10 - 24

Pg: 250 Lns: 1 - 4




Vilaysack, Phonebandith (Mar. 27, 2015)
   Plaintiff’s Designations   Defendant’s    Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections     Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 7 Lns: 3 - 7

Pg: 7 Lns: 10 - 15

Pg: 7 Lns: 16 - 16

Pg: 7 Ln: 20 - Pg: 8 Ln: 18

Pg: 9 Ln: 12 - Pg: 10 Ln: 11

Pg: 10 Ln: 15 - Pg: 11 Ln: 3

Pg: 13 Lns: 9 - 13

Pg: 17 Lns: 8 - 18

Pg: 17 Lns: 20 - 21

Pg: 18 Lns: 4 - 10

Pg: 18 Lns: 23 - 25

Pg: 19 Lns: 2 - 9

Pg: 19 Lns: 11 - 14            V; R; P



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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Vilaysack, Phonebandith (Mar. 27, 2015)
   Plaintiff’s Designations   Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 19 Lns: 16 - 20

Pg: 20 Ln: 19 - Pg: 21 Ln: 17

Pg: 22 Ln: 22 - Pg: 23 Ln: 21

Pg: 24 Lns: 4 - 7

Pg: 24 Ln: 13 - Pg: 25 Ln: 1

Pg: 26 Lns: 12 - 14

Pg: 26 Lns: 17 - 18

Pg: 26 Lns: 20 - 24

Pg: 28 Lns: 4 - 23

Pg: 29 Lns: 4 - 13

Pg: 29 Lns: 16 - 19                         30:2 – 30:17   H, P

Pg: 30 Lns: 18 - 23

Pg: 31 Lns: 15 - 20

Pg: 31 Ln: 22 - Pg: 32 Ln: 4                32:9 – 32:14   CS, H, P

Pg: 32 Lns: 15 - 18

Pg: 39 Lns: 8 - 23              R; P        39:24 – 40:5   No objection

Pg: 40 Lns: 23 - 25

Pg: 41 Lns: 2 - 3

Pg: 45 Ln: 23 - Pg: 46 Ln: 8    R; P; F

Pg: 46 Lns: 10 - 15             F; R; P

Pg: 46 Ln: 17 - Pg: 47 Ln: 4

Pg: 47 Lns: 9 - 21

                                            33
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Vilaysack, Phonebandith (Mar. 27, 2015)
   Plaintiff’s Designations   Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections    Counter-       Objections    Cross-      Objections
                                            Designations    to Counter Designations   to Cross-
                                                           Designations              Designations
Pg: 47 Ln: 23 - Pg: 48 Ln: 7    V

Pg: 48 Lns: 9 - 11              V; R; P

Pg: 48 Ln: 18 - Pg: 49 Ln: 11   R; P; F

Pg: 49 Lns: 17 - 21             R; P

Pg: 51 Lns: 8 - 11

Pg: 51 Lns: 13 - 15

Pg: 51 Ln: 19 - Pg: 52 Ln: 24               53:17 –        CS, P, O
                                            54:13
Pg: 55 Lns: 15 - 16             V

Pg: 55 Lns: 18 - 25             R; P; V

Pg: 56 Lns: 2 - 5

Pg: 56 Lns: 7 - 8

Pg: 59 Ln: 21 - Pg: 60 Ln: 4    R; P

Pg: 63 Lns: 4 - 13              R; P; V

Pg: 63 Lns: 18 - 21             V

Pg: 63 Ln: 24 - Pg: 64 Ln: 1

Pg: 64 Lns: 2 - 10              E

Pg: 64 Lns: 12 - 12

Pg: 64 Lns: 16 - 17             V; E

Pg: 64 Ln: 20 - Pg: 65 Ln: 2    R; P; V

Pg: 65 Lns: 4 - 5

Pg: 65 Ln: 13 - Pg: 66 Ln: 2

Pg: 71 Lns: 18 - 23

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Vilaysack, Phonebandith (Mar. 27, 2015)
   Plaintiff’s Designations   Defendant’s    Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections     Counter-       Objections    Cross-      Objections
                                             Designations    to Counter Designations   to Cross-
                                                            Designations              Designations
Pg: 72 Lns: 2 - 4

Pg: 73 Lns: 16 - 17

Pg: 73 Lns: 20 - 23             R; P

Pg: 73 Lns: 25 - 25

Pg: 75 Lns: 14 - 16

Pg: 75 Ln: 19 - Pg: 76 Ln: 3

Pg: 76 Lns: 5 - 7

Pg: 77 Ln: 25 - Pg: 78 Ln: 11   R; P; E; V   78:12 –        No objection
                                             78:14
Pg: 78 Lns: 15 - 25             R; P; E

Pg: 79 Lns: 2 - 6               E; R; P

Pg: 79 Lns: 8 - 12              R; P; E

Pg: 80 Ln: 23 - Pg: 81 Ln: 1    H

Pg: 81 Lns: 5 - 25              R; P

Pg: 82 Ln: 6 - Pg: 83 Ln: 11    R; P; E

Pg: 83 Lns: 13 - 22             E; R; P

Pg: 84 Lns: 3 - 5               V; F

Pg: 84 Lns: 7 - 10

Pg: 84 Lns: 13 - 14

Pg: 84 Ln: 24 - Pg: 85 Ln: 1

Pg: 85 Lns: 3 - 3

Pg: 85 Lns: 10 - 12             R; P

Pg: 85 Lns: 14 - 17             R; P

                                            35
TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Vilaysack, Phonebandith (Mar. 27, 2015)
   Plaintiff’s Designations   Defendant’s     Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                               Objections      Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 85 Lns: 20 - 20              R; P

Pg: 86 Lns: 1 - 4                R; P; F

Pg: 86 Lns: 7 - 11               R; P; E

Pg: 86 Lns: 13 - 18              V

Pg: 86 Ln: 22 - Pg: 87 Ln: 5     R; P; E

Pg: 87 Lns: 7 - 12               A

Pg: 87 Lns: 14 - 14

Pg: 87 Lns: 18 - 20              A; R; P; V

Pg: 87 Ln: 23 - Pg: 88 Ln: 1     V; E; R; P

Pg: 88 Lns: 4 - 5

Pg: 89 Lns: 4 - 7

Pg: 89 Lns: 20 - 21

Pg: 89 Lns: 23 - 23

Pg: 91 Lns: 9 - 19

Pg: 95 Lns: 4 - 19               R; P; V

Pg: 103 Lns: 16 - 19             V

Pg: 103 Lns: 21 - 24             V

Pg: 107 Lns: 20 - 25

Pg: 108 Lns: 5 - 18              R; P

Pg: 108 Ln: 24 - Pg: 109 Ln: 5   R; P; V

Pg: 109 Lns: 7 - 8

Pg: 109 Lns: 11 - 15             V; R; P; E

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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    Vilaysack, Phonebandith (Mar. 27, 2015)
       Plaintiff’s Designations   Defendant’s                  Defendant’s          Plaintiff’s Plaintiff’s Defendant’s
                                   Objections                   Counter-           Objections    Cross-      Objections
                                                               Designations        to Counter Designations   to Cross-
                                                                                  Designations              Designations
    Pg: 109 Ln: 21 - Pg: 110 Ln: 2          R; P; V

    Pg: 110 Lns: 5 - 6                      V; R; P

    Pg: 110 Ln: 10 - Pg: 111 Ln: 5          V

    Pg: 115 Lns: 6 - 7

    Pg: 115 Lns: 11 - 18

    Pg: 116 Lns: 2 - 11                     V; R; P; A

    Pg: 116 Lns: 14 - 16

    Pg: 116 Ln: 23 - Pg: 117 Ln:            V; F
    16

    Pg: 117 Lns: 19 - 24

    Pg: 118 Lns: 8 - 14                     V; R; P

    Pg: 124 Lns: 4 - 5

    Pg: 124 Lns: 9 - 19

    Pg: 125 Ln: 25 - Pg: 126 Ln: 2          R; P; V

    Pg: 126 Lns: 4 - 9                      V; R; P

    Pg: 126 Ln: 11 - Pg: 127 Ln: 1          R; P; V

    Pg: 127 Lns: 3 - 15                     V; R; P

    Pg: 127 Lns: 17 - 17




    Najarian, Richard (Jan. 22, 2015)2



2
    Broadcom asserts a global objection to all of Mr. Najarian’s deposition designations pursuant to Rule 32.

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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   Plaintiff’s Designations     Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 8 Ln: 7 - Pg: 9 Ln: 7

Pg: 9 Lns: 21 - 25

Pg: 10 Ln: 3 - Pg: 11 Ln: 12

Pg: 11 Ln: 15 - Pg: 12 Ln: 13

Pg: 12 Lns: 16 - 23

Pg: 12 Ln: 25 - Pg: 13 Ln: 23

Pg: 16 Lns: 2 - 19

Pg: 16 Ln: 23 - Pg: 19 Ln: 8

Pg: 20 Lns: 7 - 17

Pg: 20 Ln: 21 - Pg: 21 Ln: 1

Pg: 21 Lns: 5 - 11

Pg: 21 Ln: 25 - Pg: 22 Ln: 18

Pg: 22 Ln: 23 - Pg: 23 Ln: 14

Pg: 24 Lns: 7 - 13

Pg: 27 Lns: 6 - 11

Pg: 29 Lns: 23 - 25

Pg: 30 Lns: 4 - 8               H

Pg: 30 Ln: 10 - Pg: 31 Ln: 21   V; R; P

Pg: 32 Ln: 19 - Pg: 33 Ln: 19

Pg: 34 Lns: 6 - 14              R; P

Pg: 34 Ln: 23 - Pg: 35 Ln: 7

Pg: 36 Lns: 12 - 15             V


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Najarian, Richard (Jan. 22, 2015)2
  Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 36 Ln: 17 - Pg: 37 Ln: 7    V

Pg: 37 Ln: 8 - Pg: 38 Ln: 22    V

Pg: 38 Ln: 23 - Pg: 39 Ln: 1    V

Pg: 39 Lns: 3 - 15              V

Pg: 39 Ln: 16 - Pg: 42 Ln: 16   V

Pg: 42 Lns: 17 - 20             V

Pg: 42 Ln: 23 - Pg: 43 Ln: 10   V

Pg: 52 Lns: 12 - 15             V; R; P

Pg: 53 Ln: 18 - Pg: 55 Ln: 24   V; R; P

Pg: 55 Ln: 25 - Pg: 58 Ln: 2    V; H; R; P

Pg: 59 Lns: 17 - 19

Pg: 59 Lns: 22 - 25

Pg: 60 Ln: 14 - Pg: 61 Ln: 5                  60:1 – 60:13   P

Pg: 61 Ln: 23 - Pg: 62 Ln: 4                  61:6 – 61:22   P, H

Pg: 64 Ln: 18 - Pg: 67 Ln: 7    V; H

Pg: 67 Ln: 17 - Pg: 68 Ln: 1    R; P          68:2 – 68:13   No objection

Pg: 68 Lns: 14 - 16                           68:2 – 68:13   No objection

                                              69:11 –        No objection
                                              69:16
Pg: 68 Lns: 19 - 24

Pg: 71 Lns: 1 - 11              V; R; P       71:12 –        R, P, CS
                                              71:20
Pg: 72 Lns: 3 - 5               R; P

Pg: 72 Ln: 9 - Pg: 73 Ln: 11    R; P

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Najarian, Richard (Jan. 22, 2015)2
  Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 76 Ln: 21 - Pg: 77 Ln: 6     V; R; P

Pg: 81 Ln: 17 - Pg: 82 Ln: 22    R; P

Pg: 83 Lns: 6 - 14               R; P

Pg: 91 Ln: 9 - Pg: 94 Ln: 2

Pg: 94 Lns: 19 - 25

Pg: 95 Lns: 3 - 10

Pg: 109 Ln: 2 - Pg: 111 Ln: 2

Pg: 113 Lns: 15 - 19

Pg: 113 Lns: 23 - 23

Pg: 114 Ln: 8 - Pg: 115 Ln: 13   R; P

Pg: 115 Lns: 14 - 23

Pg: 116 Ln: 8 - Pg: 119 Ln: 4    R; P

Pg: 119 Lns: 5 - 9

Pg: 119 Lns: 10 - 20                          119:21 –       H
                                              120:17
                                              122:17 –       H
                                              123:4
                                              123:5 –        No objection
                                              123:18
Pg: 126 Lns: 3 - 20

Pg: 127 Lns: 8 - 13

Pg: 128 Lns: 9 - 14              R; P

Pg: 128 Ln: 17 - Pg: 130 Ln: 4   R; P

Pg: 132 Ln: 4 - Pg: 133 Ln: 2    R; P         133:3 –        R, P
                                              133:8


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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
Case No. 8:14-cv-00475-PA (DFM)
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Najarian, Richard (Jan. 22, 2015)2
  Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 134 Lns: 12 - 18

Pg: 138 Lns: 17 - 19

Pg: 144 Lns: 2 - 7               R; P

Pg: 148 Ln: 8 - Pg: 149 Ln: 2    R; P

Pg: 149 Lns: 5 - 14              R; P

Pg: 166 Lns: 3 - 17              R; P

Pg: 166 Ln: 18 - Pg: 167 Ln: 1   R; P

Pg: 167 Lns: 11 - 24             R; P

Pg: 168 Ln: 20 - Pg: 169 Ln:     R; P
12

Pg: 169 Lns: 15 - 21             R; P

Pg: 172 Lns: 3 - 16

Pg: 172 Ln: 21 - Pg: 174 Ln:
15

Pg: 174 Lns: 18 - 23

Pg: 175 Lns: 15 - 17

Pg: 176 Lns: 9 - 11

Pg: 177 Ln: 17 - Pg: 178 Ln:
15

Pg: 179 Ln: 23 - Pg: 180 Ln: 1                180:2 –        No objection
                                              180:20
Pg: 180 Ln: 21 - Pg: 182 Ln: 1                182:2 –        P, CS, Non-    183:14 –   F; calls for
                                              183:13         responsive     184:13     speculation
                                                             (183:14 –
                                                             184:13)
Pg: 184 Ln: 17 - Pg: 185 Ln: 5

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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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Najarian, Richard (Jan. 22, 2015)2
  Plaintiff’s Designations      Defendant’s   Defendant’s      Plaintiff’s Plaintiff’s Defendant’s
                                Objections     Counter-       Objections    Cross-      Objections
                                              Designations    to Counter Designations   to Cross-
                                                             Designations              Designations
Pg: 186 Lns: 3 - 21

Pg: 191 Lns: 18 - 23

Pg: 193 Ln: 24 - Pg: 194 Ln:
11

Pg: 194 Ln: 16 - Pg: 196 Ln: 9   408 Priv

Pg: 196 Lns: 11 - 12

Pg: 196 Lns: 15 - 23

Pg: 196 Ln: 25 - Pg: 197 Ln: 1   408 Priv

Pg: 197 Lns: 6 - 7               408 Priv




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TOMTOM’S DEPOSITION DESIGNATIONS AND BROADCOM’S OBJECTIONS AND COUNTER-DESIGNATIONS
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